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EXHIBIT 11
Case 1:01-cv-12257-PBS

Jack Fernandez, Esquire
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Tampa, FL 33602

813-221-1010 telephone
313-223-7961 facsimile

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

International Union of Operating Engineers,
Local No. 68 Welfare Fund,
Piaintiff,

¥.
AstraZeneca PLC; AstraZeneca Pharmaceuticals LP;
AstraZeneca LP; Zeneca, Inc.; TAP Pharmaceutical Products,
Inc.; Abbott Laboratories; Takeda Chemical Industries, Li;
Bayer AG; Bayer Corporation; Miles Laboratories, Inc.; Cutter
Laboratories, Inc.; GlaxoSmithKline, P.L.C.; SmithKline
Beecham Corporation; Glaxo Wellcome, inc.; Pharmacia
Corporation; Pharmacia & Upjohn, Inc.; Monsanto Company;
GD. Searle Company; Sanofi-Synthelabo Inc.; Johnson & -
Johnson; Alza Corporation; Centocor, Inc.; Ortho Biotech, Inc;
Alpha Therapeutic Corporation; Hoffman Le-Roche tne.;
Aragen, Inc.; Immunex Corporation; Aventis Pharmaceuticals,
Inc.; Aventis Behring L.L.C.; Hoechst Marion Roussel, Inc.;
Centeon, L.L.C.; Armour Pharmaceuticals; Baxter International
Inc.; Baxter Healthcare Corporation; Immuno-U.S., Inc.;
Boehringer Ingelheim Corporation; Ben Venue Laboratories,
Inc.; Bedford Laboratories; Roxane Laboratorics, Inc.; Bristol-
Myers Squibb Company, Oncology Therapeutics Network
Corporation; Apothecon, tne.; Dey, Inc.; Fujisawa
Pharmaceutical Co., Ltd.; Fujisawa Healtheare, Inc.; Fujisawa
USA, Inc.; Novartis International AG; Novartis Pharmaceutical
“Corporation; Sandoz Pharmaceutica! Corporation; Schering-
Plough Corporation; Warrick Pharmaceuticals Corporation;
Sicor, Inc.; Gensia Sicor Pharmaceuticals, Inc.; Wyeth; Wyeth
Pharmaceuticals; Saad Antoun, M.D.; Stanley C. Hopkins,
M.U,; Robert A. Berkman, M.D.z Does 1-50; ABC Corp. 1-50;
and XYZ Partnerships; and Associations 1-50,
Defendants.

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COUNSEL FOR STANLEY C. Horens, M.D.

C.A. NO. 03-3230 (SRC)

AFFIDAVIT OF
JACK FERNANDEZ,
ESQUIRE
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AFFIDAVIT OF JACK FERNANDEZ, ESQUIRE

STATE OF FLORIDA

COUNTY OF HILLSBOROUGH

1, Jack Fernandez, Esquire hereby certify as follows:

1. { am a Partner with the law firm of Zuckerman, Spaeder, LLP, attorneys for

defendant, Stanley C. Hopkins, MLD., in this case.

2. [ accepted service of the Class Action Complaint on behalf of Dr. Hopkins on July 3,

2003.

JACK AND

SWORN TO AND SUBSCRIBED,

© BEFORE ME, THIS _/
DAY OF fale , 2003.

(elas Public 7

Notary Public, State at Large, KY
My commission expires Dec. 8, 2004

My commission expires
